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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
                          Plaintiff,          )
                                              )
                 v.                           )      Case No. 04-cr-40021-MJR
                                              )
JAMONTE L. ALLISON,                           )
                                              )
                          Defendant.          )

                      ORDER REGARDING MOTION TO REDUCE SENTENCE

REAGAN, District Judge:

                 The Court construes a letter received from Defendant Jamonte L. Allison on

December 1, 2011, as a motion for modification of his sentence based on the United States

Sentencing Commission=s recent promulgation of amendments to the Sentencing Guidelines

(Doc. 326). The Commission took this action following the passage of the Fair Sentencing Act of

2010, Pub. L. No. 111-120, 124 Stat. 2372 (2010). That Act required the Guidelines to be

brought into conformity with substantive provisions reducing the criminal penalties for certain

crack cocaine offenses.    The result was Amendment 750, under which Defendant now seeks a

sentence reduction.

                 Amendment 750 took effect on November 1, 2011, and will be applied

retroactively.   There is no guarantee that the undersigned Judge will agree that Amendment 750

applies to Defendant=s sentence or that a reduction is appropriate in the instant case. The Court

enters this Order simply to explain how Defendant=s motion will be handled.

                 On July 20, 2011, Chief Judge David R. Herndon issued Administrative Order

137.   Pursuant to that Order, (a) the Federal Public Defender for the Southern District of Illinois

is appointed to represent Defendant Allison on this motion; (b) the motion has been docketed
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with the Clerk=s Office as ADoc. 326@; and (c) the Government is not required to respond to the

motion at this time.   The Court expects that defense counsel will contact Defendant regarding

the motion.   A copy of Administrative Order 137 will be provided to Defendant with this Order.

               IT IS SO ORDERED.

               DATED:     December 2, 2011


                                            s/Michael J. Reagan
                                            MICHAEL J. REAGAN
                                            United States District Judge
